437 F.2d 1320
    Geno Henry BARBER, Petitioner-Appellant,v.UNITED STATES of America, Respondent-Appellee.No. 30785 Summary Calendar.**Rule 18, 5 Cir.; see Isbell Enterprises, Inc.v.Citizens Casualty Co. of New York, et al., 5 Cir., 1970, 431F.2d 409, Part I.
    United States Court of Appeals, Fifth Circuit.
    Feb. 4, 1971, Rehearing Denied May 20, 1971.
    
      Glenn Zell, Atlanta, Ga., for petitioner-appellant.
      William J. Schloth, U.S. Atty., D. L. Rampey, Jr., Asst. U.S. Atty., Macon, Ga., for respondent-appellee.
      Appeal from United States District Court, Middle District of Georgia; William A. Bootle, Chief Judge.
      Before BELL, AINSWORTH and GODBOLD, Circuit Judges.
      PER CURIAM:
    
    Affirmed.  See Local Rule 21.1
    
      
        1
         See NLRB v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966
      
    
    